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April 18, 2024

VIA ECF

Hon. Sidney H. Stein
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

       Re:       United States v. Robert Menendez et al., S4 23 Cr. 490 (SHS)

Dear Judge Stein,

We respectfully submit this letter on behalf of Defendants Robert Menendez, Wael Hana, and
Fred Daibes, in response to the government’s letter today requesting a conference regarding each
trial defendant’s waiver of any right to call Ms. Lustberg at trial or on cross-examination, and the
Court’s order setting an in-person conference for tomorrow, April 19, at 10:30 a.m. We do not
believe that any such conference is needed and that, if one is required, it should take place
telephonically today, and not tomorrow. We respectfully submit that the government’s request
should not further delay the production of exhibit lists, witness lists, and Section 3500 material.

Sen. Menendez has to be in Washington, D.C., for senate business through this evening and will
be unable to make it to New York City by the time of the scheduled conference tomorrow. But
in any event, a conference is not necessary: We can represent that each defendant, after
consultation with counsel, has authorized counsel to sign the stipulation obviating the need to
call Mr. Lustberg and each defendant has confirmed that he waives in full the right to call Mr.
Lustberg in the manner described by the Court yesterday and incorporated in the government’s
letter today.

There is therefore no need for a conference. And if the Court still wishes to hear from the
parties, it should do so today via telephone, in order to avoid further tactical delay by the
government in making the requisite disclosures.

The delay in the government’s pretrial disclosures to date has been unfairly prejudicial to the
defendants, as we are informed that the government will likely identify over a thousand exhibits
and the 3500 material will be voluminous (although when asked yesterday, the government
would not advise how voluminous). As it already stands, we believe that two weeks with the
3500 material may not be entirely adequate to prepare for trial, as the Court’s prior order
seemingly acknowledged that, given the complexity and length of this case, the defendants
should receive the 3500 material, witness and exhibit lists three weeks prior to trial. We see no

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good reason to further delay the government’s production of these disclosures, which only risks
further delay to the trial.


Respectfully submitted,


/s/ Adam Fee
Adam Fee
Avi Weitzman




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